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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

               Plaintiff,

 v.                                                  Criminal Action No. 1:18CR50

 SEDDRICK BANKS,


               Defendant.

              ORDER APPOINTING CJA PANEL ATTORNEY AS COUNSEL

        Defendant submitted a CJA-23 form and, upon review thereof, is found to be indigent and

 entitled to the appointment of counsel pursuant to the provisions of 18 U.S.C. §3006A(a).

        Accordingly, pursuant to the provisions of 18 U.S.C. §3006A(b) and the Amended Plan for

 Implementing the Criminal Justice Act of 1964, as amended, 18 U.S.C. §3006A(IV)((A),(B),(C),

 and (D)1 Belinda Haynie of 168 Chancery Row, Morgantown, West Virginia 26505, Telephone

 No.(304) 296-5900, is hereby appointed to represent the defendant in this action from the date of

 the entry of this order to conclusion as defined under 18 U.S.C.§ 3006A(c).

        Appointed counsel shall in no event submit a voucher or vouchers claiming payment for

 fees and expenses2 which exceed in the aggregate the maximum amounts set for this particular case




        1
          CJA Plan adopted by the Judges of the United States District Court for the Northern
 District of West Virginia by order dated Oct 31, 2017.
        2
         “Fees and Expenses” means attorney fees and related expenses of the attorney under the
 provisions of 18 U.S.C. §3006A(d)(1) and (2) and 18 U.S.C. §3006A(e)(1), (2), and (3).
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 by the provisions of 18 U.S.C. §3006A(d)(2)and/or (e)(2)3 unless counsel, prior to incurring any

 such fee or expense, first obtains an order of the District Judge or the United States Magistrate Judge

 [if the services were rendered in connection with this action which was disposed of entirely before

 the Magistrate Judge], finding the within action justified such excess fees and expenses in accord

 with 18 U.S.C. §3006A(d)(3) and/or (e)(3) and approving fees and expenses in excess of the

 maximum.

         CJA appointed counsel is hereby notified that the aggregate attorneys fees and expenses shall

 be reasonable but not exceed the maximum amounts prescribed by 18 U.S.C. §3006A(d)(1) and (2)

 unless counsel should first obtain an order of the Court, approved by the Chief Judge of the Fourth

 Circuit Court of Appeals, in accord with the provisions of 18 U.S.C. §3006A(d)(3).

         CJA appointed counsel is further notified that he or she shall not commit payment for the

 services and expenses of or retain the services of any investigative, expert, or other services, the costs

 of which exceed that authorized by 18 U.S.C. §3006A(e)(2)(A) unless counsel first obtains an order

 of the Court approving such expenditures. In the event counsel obtains a prior court order approving

 payment for the services and expenses of or retention of services of any investigative, expert, or

 other services, the costs of which will exceed that authorized by 18 U.S.C. §3006A(e)(2)(A) but not

 exceed the amount set in 18 U.S.C. §3006A(e)(3), prior to committing payment for the services and

 expenses of or retaining the services of any investigative, expert, or other services, the costs of which

 exceed that authorized by 18 U.S.C. §3006A(e)(3), counsel shall obtain an order from the Court

 approved by the Chief Judge of the Fourth Circuit Court of Appeals authorizing such services and

 related costs.


         3
       See Judiciary Guide, Vol. 7, Part A, Ch. 2, Sec 230.23.20 Current Attorney Case
 Compensation Maxima.
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         CJA appointed counsel is notified that absent strict compliance with prior approval

 requirements of 18 U.S.C. §3006A, the risk for payment of attorneys fees, attorneys expenses and

 the fees and costs of investigative, expert and other services which exceed the statutory pre-approval

 maxima4 is solely borne by the CJA court appointed counsel.

         It is appointed counsel’s sole responsibility to maintain adequate records and keep track of

 his or her hours and expenses such that they do not exceed the maximum allowed by law for the

 case.

         The Clerk is directed to forward a copy of this Order to the defendant, the Office of the

 Federal Public Defender, CJA panel counsel herein appointed to represent defendant, United States

 Attorney, United States Probation, and the United States Marshal’s Office.

         It is so ORDERED.

         Dated: October 30, 2019
